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                         UNITED STATES DISTRICT COURT FOR THE
                             SO UTHERN D ISTRICT O F FLORIDA
                                      M iam iD ivision

                        M asterFileNum ber:1:00-01334-M D-M ORENO


   IN RE:M A NA G ED CA RE LITIGA TIO N
                                             /
    ORDER OF REFERRAL OF M OTION TO ENFORCE ARBITR ATION SUM O NSES
   AND M OTION TO STRIK E M OTION TO ENFORCE SUM O NSES TO M AG ISTRATE
                             JU DG E O 'SULL IV AN

          THIS CAUSE came before the Court upon M anaged Care Advisory Group, LLC.'s
  M otiontoEnforceArbitration Summonses(D.E.6493)andCignaHealthcare'sMotiontoStrike
  M anaged Care A dvisory G roup, LLC.'sM otion toEnforceArbitrationSummons(D.E.6508).
          PUR SU AN T to 28 U .S.
                                C.j636(b)(1)A)and theM agistrateJudgeRulesofthe S.D .Fla.
  L.R., the above-captioned Cause is referred to United States M agistrate Judge John J.
  O 'Sullivan to subm itan Orderto thisCourton M anaged Care Advisory Group, LLC.'s M otion
  to Enforce Arbitration Sum monses and Cigna Healthcare's M otion to Strike M anaged Care
  Advisory Group,LLC.'sM otion to EnforceArbitration Sum mons.
         Allmotionsforextension orenlargem entoftim e thatrelate to such m otion are included
  w ith thisreferral.
         ltshallbe the responsibility ofthe respective parties in this case to note on allm otions
  and subm issions pertaining to the referenced matters the name of M agistrate Judge Jolm J.
  O 'Sullivan.
                                                                                           A
         DO N E AN D O R D ER ED in Cham bers atM iam i, Florida,this                     of October2016.
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                                             UN ITED S     TES D ISTRICT JU D G E
 Copiesfurnishedto:
 United StatesM agistrateJudgeJohn J. O 'Sullivan
 CounselofRecord
